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    7

    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10

   11
        Protective Industrial Products, Inc.,             Case No. 8:23-cv-00095-DOC-KES
                                                          Hon. David O. Carter
   12                  Plaintiff,
   13
                  v.                                      DEFENDANT’S REPLY BRIEF IN
   14                                                     SUPPORT OF DEFENDANT’S
   15
        Boss Innovation and Marketing, Inc.,              MOTION FOR JUDGMENT ON
                                                          THE PLEADINGS AND
   16                  Defendant.                         DISMISSING THE CASE WITH
   17                                                     PREJUDICE

   18
                                                          Date: October 23, 2023
   19
                                                          Time: 8:30 a.m.
   20
                                                          Courtroom: 10A
   21

   22

   23
              Defendant, Boss Innovation and Marketing, Inc. (“Defendant”) hereby submits

   24
        its Reply Brief in support of its Fed. R. Civ. P. Rule 12(c) Motion for Judgment on

   25
        the Pleadings and to Dismiss Plaintiff’s Complaint With Prejudice.

   26

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                           DEFENDANT’S REPLY BRIEF IN SUPPORT OF DEFENDANT’S MOTION FOR
                         JUDGMENT ON THE PLEADINGS AND DISMISSING THE CASE WITH PREJUDICE
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    1   I.    INTRODUCTION & FACTUAL BACKGROUND
    2         Plaintiff Protective Industrial Products, Inc. (“Plaintiff”) Opposition to
    3   Defendant, Boss Innovation and Marketing, Inc.’s (hereinafter, “Defendant”) Motion
    4   for Judgment on the Pleadings (“the Motion”) essentially relies solely on Plaintiff’s
    5   assertion that Defendant’s alleged Trademark Infringement is “Willful”. Plaintiff
    6   then cites case law and argues that the mere allegation that Trademark Infringement
    7   is “Willful”, even without alleging facts that would be sufficient to determine
    8   “Willful” Trademark Infringement, is sufficient to overcome the defense of Laches.
    9         Further, Plaintiff’s attempt to misrepresent Defendant’s use of Defendant’s
   10   Boss “Globe-O” logos to argue likelihood of confusion, completely misses the point
   11   of a Motion for Judgment on the Pleadings based on the affirmative defense of
   12   Laches. For the purpose of the current pending Motion, similarity, or lack thereof,
   13   should not be determinative. And certainly, unfairly selecting the wrong logos and
   14   prejudicially cropping the Boss “Globe-O” logo has no place in resolving the
   15   presently pending Motion for Judgment on the Pleadings that already were filed.
   16         While Defendant believes this comparison is completely irrelevant, Defendant
   17   must point out that Plaintiff has affirmatively misrepresented not only Defendant’s
   18   Boss “Globe-O” logo, but Plaintiff’s typical use of its own Trademark and Logo.
   19

   20

   21

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   23                                                       Defendant’s Mark on its Website
             Plaintiff’s Mark on its Website
   24                                                        (https://www.bosssafety.com/)
                (https://bossgloves.com/)
   25
        In its Opposition, PIP even tries to take advantage of its affirmative misrepresention
   26
        by claiming: “BIM’s mark is nearly identical to PIP’s mark and even uses the same
   27
        color font (white) and the same style of boxy font.” Dkt. 53, p. 17 of 28, ll. 16-18.
   28
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    1          The heart of this case is based on the uncontroverted fact that Plaintiff accused
    2   Defendant of Trademark Infringement in 2011, and then took no subsequent action
    3   until 2022. During that period of time, Defendant had no way of knowing that
    4   Plaintiff intended to try to enforce its Trademark Rights eleven (11) years after the
    5   initial correspondence took place. This undeniable fact of inexcusable delay rebuts
    6   any argument that Plaintiff can muster now, eleven (11) years later. Based on
    7   Plaintiff’s abject failure to take any steps at all to enforce its alleged rights, Defendant
    8   has accumulated goodwill in its Boss “Globe-O” logos over the last eleven (11) years.
    9          Defendant reiterates its request that this Honorable Court Dismiss all claims
   10   for relief in Plaintiff’s Complaint as completely barred by the doctrine of Laches.
   11   Plaintiff and/or Plaintiff’s predecessor-in-interest was fully aware of Defendant’s
   12   conduct, threatened to sue Defendant, and then did nothing, sitting on its purported
   13   rights for more than a decade. If that is not the definition of Laches, what is?
   14   II.    PLAINTIFF’S CONCLUSORY ALLEGATIONS AND BROAD
   15          READING OF CASE LAW ARE ENTIRELY SELF SERVING AND
   16          SHOULD BE IGNORED BY THE COURT
   17          Plaintiff’s Opposition to Defendant’s Motion for Judgment on the Pleadings
   18   appears to rest, almost exclusively, on Plaintiff’s tortured argument that the mere
   19   allegation of “Willful” Trademark infringement would render an otherwise
   20   textbook defense of Laches inapplicable based on that specious allegation. Plaintiff
   21   then turns to an extremely expansive view of case law to try to buttress its argument.
   22          A.     Conclusory Statements Might Be Considered, But They Are Not
   23                 The Same As Legal Conclusions
   24          Under the standard of Fed. R. Civ. P. Rule 12(b)(6), a complaint must be
   25   dismissed when a plaintiff’s allegations fail to set forth a set of facts which, if true,
   26   would entitle the complainant to relief. Bell Atl. Corp v. Twombly, 550 U.S. 544,
   27   555 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (holding that a claim must
   28   be facially plausible in order to survive a motion to dismiss). The pleadings must
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    1   raise the right to relief beyond the speculative level; a plaintiff must provide “more
    2   than labels and conclusions, and a formulaic recitation of the elements of a cause of
    3   action will not do.” Twombly, 550 U.S. at 555. The court should accept as true a
    4   plaintiff’s well-pled factual allegations and construe all factual inferences in the
    5   light most favorable to the plaintiff. Manzarek v. St. Paul Fire & Marine Ins. Co.,
    6   519 F.3d 1025, 1031 (9th Cir. 2008). The court is not required to accept as true legal
    7   conclusions that are couched as factual allegations. Iqbal, 556 U.S. at 678.
    8         To reiterate, pursuant to Fed. R. Civ. P. Rule 12(c), a conclusory statement is
    9   not an acceptable substitute for a proper factual allegation.
   10         Plaintiff has argued that merely pleading that Defendant’s actions were
   11   “Willful” should overcome the Affirmative Defense of Laches. Plaintiff makes
   12   other conclusory statements as well, in a blatant attempt to cover up the facts that
   13   do not serve Plaintiff’s purposes in overcoming that clear Defense. One of the most
   14   egregious examples of this whitewashing is the fact that, despite eleven (11) years
   15   of inaction, Plaintiff has the temerity to argue that Plaintiff has diligently enforced
   16   its Marks, because Plaintiff said it has done so. See Plaintiff’s Opposition, p. 15, ll.
   17   11-12. Plaintiff offers no factual rationale for supporting its conclusory statements,
   18   probably because there is no possible justification for having waited so long.
   19         Accordingly, conclusory statements that are not adequately supported by
   20   facts, including the unsupported conclusory statement that Defendant’s actions
   21   were “Willful”, should be ignored by the Court in resolving the pending Motion.
   22         B.     Plaintiff Cites Case Law And Argues Blanket Protection By
   23                Ignoring The Facts
   24         To say that the DC Comics opinion “unequivocally bars the application of
   25   laches to allegations of willful infringement such as those before the Court today”
   26   is a reaching statement. That argument would broaden the scope of DC Comics to
   27   encompass the present litigation, which is clearly distinguishable.
   28         In DC Comics, the defendant created custom cars that were clearly intended
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    1   to trade on the immense goodwill generated by DC Comics and their Batman
    2   character. There was no dispute that the defendant there was intentionally trading
    3   off of the goodwill of DC Comics, and that the defendant “intentionally copied the
    4   designs” and “intentionally referred to his replica [cars] as ‘Batmobiles’.” DC
    5   Comics v. Towle, 802 F. 3d 1012, 1018 (9th Cir 2015). Plaintiff glosses over the fact
    6   that the defendant attempted to make replica cars that were clearly the Batmobile,
    7   and market those products under the term “Batmobile”. Here, the Complaint has
    8   failed to plead the Defendant engaged in any actions that truly could be considered
    9   “Willful”, and no amount of Discovery in this case could possibly lead to a different
   10   conclusion. If Defendant had intended to trade on Plaintiff’s goodwill, Defendant
   11   would have clearly needed to use a trademark that was more similar to Plaintiff’s
   12   Marks than the Boss “Globe-O” Marks. See the accurate comparison on p.1, supra.
   13          Further, the underlying case makes clear that DC Comics was only aware of
   14   the defendant’s actions “sometime before 2006”, with an affiliate of the plaintiff
   15   becoming aware of the defendant in 2003, while litigation started in 2011. This is
   16   merely a five (5) year delay, which is only slightly longer than the State Statute of
   17   Limitations of four (4) years. DC Comics v. Towle, 989 F. Supp. 2d 948, 972 (C.D.
   18   Cal. 2013). Here, not only does the Complaint show that Defendant’s Boss “Globe-
   19   O” Marks are visually distinct from any of Plaintiff’s Marks, but Plaintiff’s delay
   20   here is more than twice as long as the delay caused by the plaintiff in DC Comics.
   21   III.   THERE ARE NO DISPUTED MATERIAL FACTS, EVEN THOUGH
   22          THERE MIGHT BE DIFFERENT CONCLUSIONS DRAWN FROM
   23          SOME UNDISPUTED FACTS
   24          A.    Plaintiff Is Wrong When It Argues There Is A Material Issue Of
   25                Fact As To Whether Defendant Suffered Prejudice
   26          First, Plaintiff argues that whether Defendant suffered prejudice is a disputed
   27   fact. As alleged in the Complaint, Defendant continued its complained of actions
   28   for eleven (11) years after first being put “on notice” that PIP’s predecessor alleged
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    1   that BIM’s actions were allegedly infringing. Based on this alone, the only logical
    2   inference to draw is that Defendant has continued to use its Marks and continued its
    3   growth. This self-evident conclusion does not require relying on any evidence that
    4   is external to the Complaint.
    5         Here, Plaintiff attempts to convert this Motion to one for Summary Judgment
    6   in an attempt to delay the inevitable final resolution of the disagreement between
    7   the Parties, but this Honorable Court is able to rule on the Motion without going
    8   outside the Complaint and its Exhibits, and making this more complicated will not
    9   change the ultimate outcome, based on the uncontroverted facts in the Complaint.
   10         B.     Plaintiff Is Wrong When It Argues That Allegedly Disputed
   11                Material Facts Rebutting Laches Dooms Defendant’s Motion
   12         The only “disputed material fact” that is relevant here is whether Defendant’s
   13   actions were “Willful”, which as explained above, is simply a conclusory statement
   14   that should be disregarded by the Court.
   15         Even if there were any “disputed facts”, the Motion for Judgment on the
   16   Pleadings only draws facts from the Complaint and its Exhibits, assuming the facts
   17   pled therein are true, including any reasonable inferences that may be drawn in
   18   Plaintiff’s favor. The basis for the Motion, therefore, is there are no “disputed
   19   material facts”. Further, it is Plaintiff who is attempting to insert facts that are
   20   extrinsic to the record being considered. It is not Defendant’s fault that Plaintiff’s
   21   Complaint is materially deficient, and should be Dismissed with Prejudice.
   22   IV.   THE E-SYSTEMS FACTORS FAVOR APPLYING LACHES HERE
   23         The E-System factors for evaluating whether laches should be used to bar
   24   allegations of willful infringement include: (1) “strength and value of trademark
   25   rights asserted”; (2) “plaintiff’s diligence in enforcing mark”; (3) “harm to senior
   26   user if relief denied”; (4) “good faith ignorance by junior user”; (5) “competition
   27   between senior and junior users”; and (6) “extent of harm suffered by junior user
   28   because of senior user’s delay.” E-Systems, Inc. v. Monitek, Inc., 720 F.2d 604, 607
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    1   (9th Cir. 1983).
    2         Much like Plaintiff’s argument that it has pled facts sufficient to find that
    3   Defendant committed “Willful” infringement, Plaintiff uses conclusory allegations
    4   to attempt to buttress Plaintiff’s arguments that do not address its real problem: that
    5   Plaintiff sat on its rights for eleven (11) years while the public, allegedly, were being
    6   misled by Defendant’s allegedly infringing actions. Indeed, Plaintiff argues it was
    7   “diligent in enforcing its BOSS® Marks. Compl. ¶9” so nothing more is needed.
    8                1.     Strength And Value Of Trademark Rights Asserted
    9         Defendant is not disputing here that Plaintiff’s Marks are backed by 100 years
   10   of history and the goodwill Plaintiff has accumulated during that time.
   11         Defendant does wonder, however, why Plaintif would spend eleven (11) years
   12   watching their “strong and valuable marks” be infringed by BIM without taking any
   13   action. Unless the “strong and valuable marks” might not be so valuable after all?
   14         Nonetheless, no level of strength and value possessed by Plaintiff’s marks
   15   could overcome just how strongly the second factor favors Defendant.
   16                2.     Plaintiff’s [Lack Of] Diligence In [Not] Enforcing Its Mark
   17         Plaintiff’s attempt to stack each of the E-Systems Factors reveals the sheer
   18   shortsightedness of Plaintiff’s position and makes apparent that Plaintiff’s strategy
   19   appears to be to bury the facts in favor of “inferencing” clearly incorrect conclusions.
   20         This E-System factor is very clear, and goes directly to Defendant’s whole
   21   reason for raising the Laches defense. Namely, that Plaintiff delayed eleven (11)
   22   years from its initial “attempt” to change Defendant’s behavior and failure to follow
   23   up after Defendant clearly stated that it would continue its actions after providing a
   24   well-reasoned explanation of why what Defendant was doing was not infringement.
   25         Rather than provide some sort of explanation for Plaintiff’s extreme lack of
   26   action, Plaintiff merely argued that Plaintiff stated that it was “diligent in enforcing
   27   its BOSS® Marks. Compl. ¶9.” This is another example of Plaintiff relying on
   28   conclusory statements that are not supported by factual pleadings that are not
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    1   conceivable inferences based on properly alleged facts. The court is not required to
    2   accept as true legal conclusions couched as factual allegations. Iqbal, 556 U.S. at 678.
    3         This E-System factor, in light of the facts pled, and not the improperly
    4   inferenced conclusions stated by Plaintiff, heavily favors applying Laches here.
    5                3.     There Is No Real Harm To The Senior User If Relief Denied
    6         Plaintiff continues to argue that it “has been and will continue to be harmed”
    7   if Defendant is not stopped from its alleged infringing actions. However, Defendant’s
    8   actions have been ongoing for twelve (12) years after the first Cease and Desist Letter
    9   was sent (and for about a decade beforehand). Allowing Defendant to continue is just
   10   keeping the current “status quo ante”. Plaintiff has also not provided any explanation
   11   as to why any alleged damage is accruing now, after all this time, and how it could
   12   possibly be any different from what the alleged damage would have been when
   13   Defendant first began using its Boss “Globe-O” logo two decades ago. Plaintiff’s
   14   failure to enforce its rights for so long should not be remedied by this Court now.
   15                4.     Good Faith Ignorance By Junior User
   16         As Defendant’s correspondence attached to the Complaint makes abundantly
   17   clear, Defendant reasonably did not believe that its use of the Boss “Globe-O” logo
   18   was an allegedly infringing use. Further, after expressing its belief that there was no
   19   longer a legal dispute between the parties, Defendant’s position expressed in its
   20   Response Letter appeared to be adopted by Plaintiff because, for eleven (11) years,
   21   Plaintiff took none of the actions that would be expected if a party reasonably and
   22   objectively believed that its Registered Trademark was being infringed. All of these
   23   facts, taken together, leads to the reasonable inference that Defendant had good faith
   24   ignorance, and nothing contained in the Complaint provides a rebuttal to that
   25   conclusion, except for conclusory statements, that do not need to be accepted as true
   26   by this Honorable Court, because sufficient underlying facts have not been pled.
   27         Thus, this factor too weighs in Defendant’s favor.
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    1                5.     Competition Between Senior And Junior Users
    2         Based on the fact that Plaintiff and Defendant both sell products with some
    3   similarities (although BIM has asserted many times, that the only “gloves” it sells are
    4   as one small component of much larger safety kits, and said gloves are always marked
    5   with the Trademark of the manufactuer – who is not Defendant), one would think
    6   that Plaintiff would be concerned that the competition between such competitors
    7   would necessitate that Plaintiff have taken action to protect its mark against a “direct
    8   competitor” many years ago, and certainly in fewer than eleven (11) years.
    9                6.     Extent Of Harm Suffered By Junior User Because Of Senior
   10                       User’s Delay
   11         Based on Plaintiff’s lengthy lack of action, Defendant has been using its Boss
   12   “Globe-O” Marks for more than eleven (11) years after the first round of Cease and
   13   Desist Letters (which is twice as long as it would take to file, register, and obtain
   14   incontestability status for a Trademark Registered with the U.S. Trademark Office).
   15   Defendant has, based on facts pled in the Complaint, spent the eleven (11) years
   16   between Cease and Desist Letters building the brand awareness and acquiring
   17   goodwill in its Boss “Globe-O” logo Marks.
   18         Thus, the harm suffered by Defendant is not the kind that can easily be
   19   measured with a dollar figure. The intangible goodwill and brand recognition that
   20   Defendant has built over the eleven (11) years while Defendant had no reason to
   21   believe Plaintiff would try to stop them is enormous and the loss thereof would be
   22   devastating to Defendant, which is the entire reason that Laches exists to begin with.
   23         If Plaintiff had simply followed up on its 2011 allegations of Trademark
   24   Infringement with any sort of reasonable frequency, then maybe the balance of the
   25   E-Systems Factors would lean in favor of Plaintiff, but put simply, the effect of
   26   Plaintiff’s choice to not police its mark for eleven (11) years greatly outweighs the
   27   effect of the other E-Systems Factors here, and Defendant should prevail.
   28
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    1   V.    LACHES PRECLUDES NOT ONLY MONETARY DAMAGES, BUT
    2         INJUNCTIVE RELIEF AS WELL
    3         While it is true that the Court may determine that Plaintiff might try to seek
    4   injunctive relief if the laches defense ends up applying to the monerary relief, it is
    5   not a certainty. In fact, the Ninth Circuit has examined the history of the denial of
    6   Laches as a defense when prospective injunctive relief is being sought, and citing
    7   numerous precedents, has concluded that Laches IS still a viable defense to
    8   trademark infringement, even if and when prospective injunctive relief is being
    9   sought. Specifically, as noted in Plaintiff’s Opposition at p. 17, ll. 7-9: “laches
   10   typically does not bar prospective injunctive relief”. Pinkette Clothing, Inc. v.
   11   Cosmetic Warriors Ltd., 894 F.3d 1015, 1027 (9th Cir. 2018) (emphasis added).
   12         The Ninth Circuit, in te, cited with approval numerous additional cases in
   13   which laches was found to be a valid defense to a claim for injunctive relief. Miller
   14   v. Glenn Miller Prods., Inc., 454 F.3d 975, 997 (9th Cir. 2006) (“It is well
   15   established that laches is a valid defense to Lanham Act claims for both
   16   monetary damages and injunctive relief.”); Jarrow Formulas, Inc. v. Nutrition
   17   Now, Inc., 304 F.3d 829, 840 (9th Cir. 2002) (applying laches to a claim for an
   18   injunction); Danjaq LLC v. Sony Corp., 263 F.3d 942, 960 (9th Cir.2001) (“In a
   19   situation like this one, laches may bar prospective injunctive relief.”); E-Sys., 720
   20   F.2d at 607 (“Laches can bar recovery in trademark or tradename actions
   21   where injunctive relief is sought.”) (emphasis added).
   22         Indeed, District Courts within the Central District of California, subsequent
   23   to the Ninth Circuit’s decision in DC Comics v. Towle, when considering a claim of
   24   “Willful” Trademark Infringement, still have applied the Laches defense. For
   25   example, in ILC Trademark Corporation v. Aviator Nation, Inc. et al., District
   26   Judge Fitzgerald Ruled: (“Here, the Court determines that the balance of equities
   27   bars Plaintiff’s claim for prospective injunctive relief. Specifically, … the E-
   28   Systems factors weigh in favor of finding laches…. On Defendant’s …
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    1   Affirmative Defenses for acquiescence, laches, statute of limitations, waiver,
    2   estoppel, and failure to mitigate, the Court finds in favor of Defendants. This
    3   finding both acts as a bar to entry of judgment on Plaintiff’s claims for relief
    4   and as a bar to the requested remedies, i.e., an injunction or disgorgement”)
    5   (Case 2:17-cv-07975-MWF-JPR, Dkt. 157, Nov. 24, 2020) (emphasis added).
    6         Defendant notes that Plaintiff’s position on this issue comes down to
    7   Plaintiff’s argument that “PIP’s purported delay was not unreasonable.” Plaintiff’s
    8   Opp., p. 15, l. 16. To be clear, Plaintiff argues a delay of eleven (11) years of
    9   inaction is not unreasonable, without providing any supporting facts to substantiate
   10   such a bold claim. In this case, Plaintiff’s delay is so unreasonable, that Defendant
   11   should not now need to change how it has been operating for the past two decades.
   12   VI.   THIS CASE SHOULD BE DISMISSED FORTHWITH
   13         Plaintiff attempts to argue that this Court should allow Discovery to proceed
   14   before determining whether the defenses of Laches, Willfulness, and Acquiescence
   15   apply, but no amount of Discovery is going to change the fact that Plaintiff took
   16   absolutely no action whatsoever for more than eleven (11) years, and there is no
   17   information in Defendant’s possession that could possibly be “discovered” that is
   18   going to affect what Plaintiff failed to do for eleven (11) years in the past.
   19         Based on all of the foregoing, Defendant respectfully requests that the Court
   20   dismiss Plaintiff’s Complaint in its entirety, with prejudice forthwith. Moreover,
   21   subject to proof by subsequent filing, Defendant respectfully requests that the Court
   22   award to Defendant and against Plaintiff all of Defendant’s attorney’s fees and
   23   taxable costs for having to defend this case that Defendant told Plaintiff would be
   24   barred before Plaintiff even filed the Complaint.
                                                Respectfully submitted,
   25                                           HANKIN PATENT LAW, APC
   26   Dated: October 9, 2023                  /Marc E. Hankin/
                                                Marc E. Hankin, Esq.
   27                                           Attorneys for Defendant,
                                                Boss Innovation and Marketing, Inc.
   28
                                                   Page 10
                         DEFENDANT’S REPLY BRIEF IN SUPPORT OF DEFENDANT’S MOTION FOR
                       JUDGMENT ON THE PLEADINGS AND DISMISSING THE CASE WITH PREJUDICE
